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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


 LAUREL D. LIBBY, State                       )
 Representative of Maine House                )
 90, RONALD P. LEBEL, WENDY                   )
 MUNSELL, JASON LEVESQUE,                     )
 BERNICE FRASER, RENE                         )
 FRASER, and DONALD DUBUC,                    )
       Plaintiff(s),                          )
                                              )
        v.                                    )       Civil No. 1:25-CV-83
                                              )
 RYAN M. FECTEAU, in his                      )
 official capacity as Speaker of the          )
 House of Representatives, and                )
 ROBERT B. HUNT, in his official              )
 capacity as Speaker of the House             )
         Defendants (s),                      )
                                              )


                                    CONCURRING ORDER

        I concur that Melissa R. DuBose, a district judge in active service, shall be designated and

 assigned to preside over the above-captioned case.

        I further concur that an emergency exists as specified above and that for the duration of

 this case Magistrate Judge Patrica A. Sullivan is assigned to perform such duties under 28 U.S.C.

 § 636(a)-(c) as may be assigned to him/her by the district judge to whom this case is assigned.



                                              /s/ John J. McConnell, Jr. _____________
                                              Chief U.S. District Judge, Assignee District

 Dated: March 12, 2025

 cc:    Christa K. Berry, Clerk, USDC - Maine
        Counsel of Record
